Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.589 Page 1 of 61

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John S. Clifford, Esq. SBN 172263

2 || Mark T. Kearney, Esq. SBN 219707
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6 || Attorneys for Defendants NEOCELL CORPORATION,
FATMA BOUKHARI, AKRAM QUADRI, SARAH QUADRI,
7 || DARREN RUDE, MICHAEL NASSAR
8 UNITED STATES DISTRICT COURT
9

SOUTHERN DISTRICT, SAN DIEGO DIVISION

11 | COLLAGEN NUTRACEUTICALS, CASE NO: 3:09-CV-02188-DMS-WVG
INC. A California Corporation,

12 Plaintiffs, Complaint Filed: October 5, 2009
VS.
13 Assigned to Hon. William Gallo
NEOCELL CORPORATION, a Ctrm F

14 | California Corporation; FATMA

BOUKHARI, an individual; AKRAM

15 | QUADRI, an individual; SARAH

UADRI, an individual; DARREN DECLARATION OF MARK T.

16 || RUDE, an individual; MICHAEL KEARNEY IN SUPPORT OF
NASSAR, an individual dba MFN MOTION FOR (1) AN ORDER

17 | PHARMACEUTICAL COMPELLING TERRI
CONSULTING SERVICES, and ALKAYALIPS COMPLIANCE WITH

18 || DOES 1-20, SUBPOENA, AND & THE

Defendants. IMPOSITION OF CONTEMPT

19 SANCTIONS ON TERRI ALKAYALI

20 || NEOCELL CORPORATION, a Date: Friday, September 17, 2010
California Corporation Time: 2:00 p.m.

21 Place: Ctrm F, 1* Floor

Counterclaimant,
22 VS.

23 || COLLAGEN NUTRACEUTICALS,
INC. A California Corporation;

24 | AHMAD ALKAYALLT, an individual,
and ROES 1-10, inclusive

25 Counterclaim Defendants.

1

SMITH, CHAPMAN Decl. of Mark Kearney
& CAMPBELL

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.590 Page 2 of 61

1 DECLARATION OF MARK KEARNEY

2 I, MARK KEARNEY, declare as follows:

3} 1. Jama partner in the law firm of Smith, Chapman & Campbell, attorneys of

4 record for Defendants and Counterclaimant. I submit this declaration in support

5 of Defendants/Counterclaimant’s Motion for (1) An Order Compelling Terri

6 Alkayali’s Compliance With Subpoena, and (2) The Imposition of Contempt

7 Sanctions on Terri Alkayali. I have personal firsthand knowledge of the facts

8 stated herein, and could competently testify thereto if called upon to do so.

9 2. Attached hereto as Exhibit A is a true and accurate copy of portions of Ahmad
10 Alkayali’s deposition transcript in which he discusses his role and the role ofhis
11 wife, Terri Alkayali, at Collagen Nutraceuticals, Inc.

12 || 3. Following the deposition of Ahmad Alkayali, I contacted Alkayali’s attorney to

13 attempt to arrange for the deposition of Terri Alkayali. The first contact to
14 arrange for the deposition was made in or about the beginning of May 2010,
15 over two months ago. We provided various available dates for the deposition.
16 Alkayali’s attorney did not get back to us with available dates despite his
17 promises. Attached hereto as Exhibit B is true and accurate correspondence that
18 was sent by my paralegal to Alkayali’s attorney to try to arrange for the
19 deposition.

20 | 4. I sent an e-mail to Alkayali’s attorney on May 25, 2010 again asking for

21 availability and whether he was authorized to accept service of a subpoena to
22 Terri Alkayali, a true and accurate copy of which is attached hereto as Exhibit
23 C. Despite having had weeks to provide the information, Alkayali’s attorney
24 claimed that he was still “working on getting dates.” Attached hereto as Exhibit
25 D is Alkayali’s attorney’s response to my May 25, 2010 email. The response
26 lead me to believe that Alkayali’s attorney would be accepting service of the
27 subpoena and that all that needed to happen was to figure out available dates.

28 || 5. A month later, Alkayali’s attorney still had not gotten back to me with available

2

SMITH, CHAPMAN Decl. of Mark Kearney
& CAMPBELL

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1 dates. I sent another e-mail on June 25, 2010 regarding the deposition, a true
2 and accurate copy of which is attached hereto as Exhibit E. Three days later,
3 Alkayali’s attorney responded to the email, stating, “I am not authorized to
4 accept service.” A true and accurate copy of that response email is attached
5 hereto as Exhibit F. It took almost two months for Alkayali’s attorney to inform
6 us as to whether he was authorized to accept service for the subpoena to his
7 client’s wife.
8 |i 6. As Alkayali’s attorney was now unwilling to accept service of the subpoena, we
9 were forced to move forward with serving Terri Alkayali with a subpoena for
10 deposition. Attached hereto as Exhibit G are true and accurate copies of the
11 status updates on service of the subpoena to Terri Alkayali provided by our
12 process server.
13 || 7. Numerous attempts were made to serve Terri Alkayali with a subpoena. Finally,
14 we had to order a “stake out” to try to serve Terri Alkayali. Eventually, Terri
15 Alkayali was served with the subpoena. The deposition was set for July 29,
16 2010. A true and accurate copy of the subpoena with the proof of service is
17 attached hereto as Exhibit H.

18 || 8. On July 27, 2010, just two days before the scheduled deposition, Alkayali’s

19 attorney sent me an email indicating that Terri Alkayali would “not be appearing
20 on the date in your notices.” A true and accurate copy of that email with my
21 response to the email is attached hereto as Exhibit I.

22 | 9. In my response to the email I indicated that Terri Alkayali had been served and

23 that the deposition was going to go forward on the date set forth in the subpoena.
24 I also highlighted the delay and difficulties encountered in setting up the
25 deposition. Alkayali’s attorney responded by again stating that Terri Alkayali
26 would not appear for deposition. A true and accurate copy of the response to my
27 email is attached hereto as Exhibit J. In the email Mr. Becker states that he did
28 not know of the attempts to serve Ms. Alkayali. I recall telling Mr. Becker

3

SMITH, CHAPMAN Decl. of Mark Kearney
& CAMPBELL

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.592 Page 4 of 61

1 during at least one of our phone conversations that our process server was
2 having trouble serving Terri Alkayali because it appeared that she was evading
3 service. I would anticipate that Mr. Becker simply forgot that I had told him
4 this.
5 || 10. Ihave spentno less than eight hours on dealing with the above referenced issues
6 and drafting this Motion. I anticipate spending at least another four hours on
7 drafting a reply to any opposition filed and attending a hearing. My hourly rate
8 on this file is $300.00 per hour. As such, my client will incur no less than
9 $3,600.00 in attorneys’ fees in connection with this Motion.

10

11 I declare under penalty of perjury that the foregoing is true and correct.

12 || Executed this 5" day of August 2010, at Santa Ana, California.
eC?
14

{) MARK KEARNEY /
15

4

SMITH, CHAPMAN Decl. of Mark Kearney
& CAMPBELL

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.593 Page 5 of 61

EXHIBIT A
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.594 Page 6 of 61

UNITED STATE DISTRICT COURT

SOUTHERN DISTRICT, SAN DIEGO

COLLAGEN NUTRACEUTICALS, INC.,
A California Corporation,

Plaintiff,
Vs.

)
)
)
)
)
)
)
NEOCELL CORPORATION, a California )
Corporation; FATMA BOUKHARI, an )
Individual; AKRAM QUADRI, an )
Individual; SARAH QUADRI, an )
Individual; DARREN RUDE, an )
Individual; MICHAEL NASSAR, an )
Individual dba MFN PHARMACEUTICAL )
CONSULTING SERVICES, and DOES )
1-20, )
)

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Defendants.

NEOCELL CORPORATION, a California
Corporation

Counterclaimant,
Vs.

COLLAGEN NUTRACEUTICALS, INC., a
California Corporation; AHMAD
ALKAYALI, an individual, and DOES
1-10, inclusive

Counterclaim Defendants.

DEPOSITION OF AHMAD AKLAYALI

On Wednesday, April 21, 2010, commencing at the hour of

10:08 a.m., at 525 B Street, City of San Diego, County

of San Diego, State of California, before me,

Smith, Certified Shorthand Reporter, No. 13265, in and

for the State of California.

CASE NO: 3:09-CV-
02188-DMS-WVG

Rhiannon

AHMAD AKLAYALI

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APPEARANCES
FOR PLAINTIFF:

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SMITH, CHAPMAN & CAMPBELL

1800 NORTH BROADWAY, SUITE 200
SANTA ANA, CALIFORNIA 92706

PHONE: 714-550-7720 FAX: 714-550-1251

Mkearney@smithchapman.com
ALSO PRESENT:
DR. MICHAEL NASSAR

DARREN RUDE

AHMAD AKLAYALI

BARKLEY

Court Reporters

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1 corporation formally changing the name to the secretary

2 of state?

3 A. I did not.

4 Q. Did someone --

5 A. Someone else.

6 Q. Who did it?

7 A. The acting CEO at the time Mr. Henry Helms.
8 Q. Prior to the incorporation of Collagen II

9} Nutrition Inc. Was the company doing any sort of
10| business as a sole proprietorship or in any form?
11 A. No.

12 Q. So when it was incorporated that's when the

13 company started doing business; is that correct?

14 A. Correct.
45 Q. Who incorporated Collagen II Nutrition Inc. In
| 16 2000?

17 A. Mr. Henry Helms.

18 Q. Who is Henry Helms?

19 A. He's an individual, was a neighbor in Laguna

20 Beach.
21 Q. Did he form the company on his own or did he have

22 a partner or partners?

23 A. My wife and his former company.

24 Q. I'm sorry?

25 A. My wife and Mr. Helms' former company.
14

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Q. Okay. What was your involvement in the formation
of the company?

A. None.

Q. Who were the initial shareholders of Collagen II
Nutrition Inc.?

A. My wife and Mr. Helms.

Q. Just for clarity sake and for ease of reference
I'm going to refer to this company that was initially
formed as Collagen II Nutrition Inc. And then the name
was changed to Collagen Nutraceuticals Inc. As Collagen
Nutraceuticals throughout this deposition. Will you be
able to understand what I'm saying; is that fair?

A. Yes.

Q. What was the initial ownership structure of
Collagen Nutraceuticals when it was formed back in 2000?

A. I don't really recall. I tried to find out some
documentation in my file and I couldn't find anything.
There's a couple boxes missing and some files be missing
during the -- Mr. Quadri went through my stuff so I have
no -- I'm missing a couple boxes and some files.

Q. If -- just to make this go a little smoother all
you need to do is really answer my question. If I need
to followup and get more information from you I'1l go
ahead and do that but it's going to be a lot shorter if

we just focus on the question.

15

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Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.598 Page 10 of 61

1 A. That's fine, sir.
[ 2 Q. Okay. Your wife, what's your wife's name?
3 A. Terri, t-e-r-r-i.
4 OQ. And what's her full name?
5 A. Terri Stiles Alkayali.
— 6 Q. And how long have the two of you been married?
7 A. We've been married 15 years or more, 1993.
8 Q. And you currently reside in California?
9 A. Yes.
10 Q. And she currently resides in California?
11 A. Yes.
Tap Q. Who currently owns the shares of Collagen

13 Nutraceuticals?
14 A. Shares have not been issued. The company owned

15 20 percent by me, 20 percent by my wife, and 60 percent

16 my children.
17 Q. What happened to Henry Helms with respect to his

18 ownership in Collagen Nutraceuticals?

19 A. I think he left. He sold his share and left.
20 QO Who did he sell his shares to?

21 A. Back to the company.

22 Q When did that occur?

23 A I don't have the exact date. As I said I'm

24! missing some files so I couldn't really give you an

25 exact date.

16

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A. No.

Q. And with respect to the ownership -- the other
ownership interest in the company are you aware of any
agreements with respect to those ownership interest?

A. No.

QO. So as far as you're concerned as you sit here you
own 20 percent of Collagen Nutraceuticals and there's no
understanding or agreement with anybody with respect to
that ownership interest, correct?

A. That's the way I understand.

Q. And the same question for the other ownership
interest in Collagen Nutraceuticals?

A. Correct.

Q. How many employees does Collagen Nutraceuticals
currently have?

A. Just me and my wife.

Q. What does your wife do for the company?

A. She call accounts. She's business.

Q. What's her position?

A. She's just a sales, you know, in sales. She's in
sales. She's vice-president in sales.

Q. When you became involved -- when you became
involved in the company -- actually I'm sorry, strike
that.

When you acquired your 20 percent interest in the

25

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24

25

MR. KEARNEY: Back on the record.
BY MR. KEARNEY:

Q. Prior to your acquisition of an ownership
interest in Collagen Nutraceuticals are you aware of any
director shareholder meetings that the company engaged
in.

A. Yes, I believe Mr. Helm and my wife met several

Q. Did they hold formal meetings of directors?

A. I don't know what you call formal. They met to
talk about the business.

Q. Would they have formal meetings of the
shareholders?

A. I don't recall. Possible. I don't know.

Q. And does the corporate book at this point reflect
all the shareholder's meetings and director's meetings
that took place for the company?

A. I believe so. You know, there was some and it

was in those boxes I was referring to earlier.

Does the company currently have directors?
Yes.
Who are the -- who's on the board?

I'm a director my wife is a director.

Any others?

= oO PF OP ©

We're the only two that control the company right

27

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Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.601 Page 13 of 61

now.

Q. How did you and your wife become directors of the
Collagen Nutraceuticals?

A. We have the meeting and vote each other out to be
director.

Q. Who was at this meeting?

A. My wife and I and my children.

Q. The children were there?

A. We had meeting with the children when they come
visit down here.

Q. Which year was that?

A. Sometime -- they come every year. We have
meeting twice a year, 2004-2003. I'm not clear about
what the dates are.

Q. That's when you think that you and your wife
became directors of Collagen Nutraceuticals?

A. My wife was a director with Mr. Helms.

Q. So you believe that you became a director in 2003
or 2004?

A. That's about right.

Q. And who are the officers?

A. I'm the officer chief executive officer and the
president.

Q. Any others?

A. No.

28

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sale of Reversitall prior to October 8, 2008 Collagen
Nutraceuticals gave NeoCell permission to use that mark;
is that your testimony?

A. Yes.

Q. So the sales prior to that time as far as you
understand of Reversitall by NeoCell was authorized
correct?

A. Yes, I was in charge. I authorize myself to use
it yes.

MR. BECKER: Off the record.

(Off the record.)

MR. KEARNEY: Back on the record.
BY MR. KEARNEY:

Q. On March 15th, 2007 when you filed for the
Reversitall -- Collagen Nutraceuticals filed the
Reversitall trademark who owned Collagen Nutraceuticals
at that time?

A. Same people own it today.

QO. Okay. And you controlled Collagen Nutraceuticals
at the time; is that correct?

A. Me and my wife.

QO Who was in primary control? You, correct?

A. Me and my wife.
Q

And what was your position with NeoCell on this

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Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.603 Page 15 of 61

day whether the Reversitall mark was filed?

A. I was the owner and the CEO and consultant.

Q. What was your percentage ownership?

A. 72 percent. My wife and I 72 percent,
correction.

Q. Prior to October 8th, 2008 you indicated that
Collagen Nutraceuticals used the Reversitall mark in
connection with this raw ingredient; is that accurate?

A. Correct.

Q. What was the formula for that raw ingredient?

MR. BECKER: Is that a trade secret? Let's
mark the transcript as attorney's eyes only and for this
area of questioning and you can have the other two
witnesses leave during it.

MR. KEARNEY: Is this something that they
don't already know?

THE WITNESS: I don't care. I don't want
them to hear what I'm going to tell you so they better
leave.

MR. KEARNEY: Just step out for one second.

(ATTORNEYS! EYES ONLY PORTION OF THE TRANSCRIPT BEGINS. )

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Q. What were the -- give me an approximation on the
anual sales of Collagen Nutraceuticals and Five
Continent Enterprises total from 2003 forward?

A. I don't know. Collagen Nutraceuticals probably 2
-- 300 thousand to half a million, maximum. Five
Continent was doing 200,000 up to maybe 6 -- 700,000.

That's a range the high and low.

Q. Those are just sales, gross sales?

A. Gross sales.

Q. That's average per year?

A. I -- well, you know, like, last year was nothing,

it's 100,000 but there was some years CN did about
500,000.
Q. I'll mark as Exhibit 18 a one page-document.
It's bates labeled NEO 145.
(Defendant's Exhibit 18 was marked for

Tdentification.)

BY MR. KEARNEY:

Q. Do you recognize the e-mails?

A. Yeah.

QO. And these e-mails are with Mr. Miller, the
attorney who you claim was the attorney for Collagen
Nutraceuticals?

A. Yes.

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Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.605 Page 17 of 61

Q. And the top e-mail is from Sarah Quadri, correct?

A. Yes.

Q. To Mr. Miller?

A. Uh-huh.

Q. And do you recall receiving this e-mail?

A. Not really. I just receive many e-mails, you
know. I was copied on it, yeah.

Q. I don't see where you were copied on the top
e-mail?

A. Not the top but the bottom.

Q. The e-mails from Mr. Miller you're copied on?

A. Uh-huh.

Q. He actually sent it to both of you and only Sarah
Quadri responded; is that accurate?

A. Because I told her to do so.

Q. And what was the final Reversitall mark? Was it
the r-e-v-e-r-s-i-t-a-l-1?

A. I believe so.

Q. And it was -- was it prior to that when it was
being developed was there an E in there as indicated in
the e-mail?

A. What it appeared to be that Mr. Miller

misunderstand that they didn't need the E in there so I
instructed Sarah to remover the E.
Q. Did you speak with Sarah about -- did you speak
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with Sarah between the time that this e-mail was
received from Mr. Miller to the time when Sarah
responded to the e-mail?

A. Sarah mentioned it to me and told her it's not
what he wants because see the subject is CN name, Sir,
for Reversitall. That's what she wrote in here is name,
search for registration of Reversitall. So she ask him
to remove the E based on my instruction to her. She
brought to my attention and I said we don't want the E
in there.

Q. So the e-mail was received, you talked to Sarah
about it, and then she responded; is that your
testimony?

A. Based on my instructions to her, yes.

Q. Was your wife involved in that discussion?

A. I told my wife we didn't need the E. She said to
remove the E. She said I don't want the E in there.

Q. She did. And that was between the time that Mr.
Miller sent his e-mail and the time that Sarah responded
to the e-mail?

A. Appeared to be, yeah.

Q Was your wife at the office?

A No.

Q. Did you call your wife?
A

I don't know if I called my wife or speak with

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AHMAD AKLAYALI BARKEEY

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.607 Page 19 of 61

1 her that day.

2 Q. Okay. But I'm talking about the period of time
3 between Mr. Miller sending the e-mail and Miss Quadri

4 responding to the e-mail?

5 A. I don't really recall. This has been many years

6 ago so document speaks for themselves.

7 Q. They do. Who was involved in the decision to

8 remove the E from the Reversitall mark that was

9 originally contemplated?

10 A. My wife and I.

11 Q. Okay. I'm going to mark as Exhibit 19 a one-page

12 document bates labeled NEO 144.

13 (Defendant's Exhibit 19 was marked for
14 Tdentification. )
15

16 BY MR. KEARNEY:

17 Q. This is another e-mail string between Sarah

18 Quadri and Mr. Miller and this is Mr. Miller's e-mail at
19 the bottom appears to be in response to Miss Quadri's

20 instruction to remove the E from that Reversitall; do

21 you see that?

22 A. Uh-huh.

23 QO. And Mr. Miller wants to know whether that's what
24 you want; do you see that?

25 A. Yeah, and she spoke to me and I told her that's

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AHMAD AKLAYALI Banke

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.608 Page 20 of 61

1 what I want.

2 Q. So did she speak to you after Mr. Miller sent

3 this e-mail dated March 9th, 2007, 10:25 a.m.?

4 A. That's what the document says. Documents speak
5 for themselves.

6 Q. So Miss Quadri independently decided on her own
7 to remove the E and then she checked with you after Mr.
8 Miller inquired to see if that would be okay; is that

9 correct?

10 A. No, she said, yes, I spoke with him about it and
11 sees what I'm talking about. I told her to remove the
12 EB.

13 Q. Well, when she see says "sees what I'm talking
14 about" doesn't that sort of mean to you that she came up
15 with the idea and then she had to come to you to see if

16 it was okay with you?

17 A. No, sir.

18 Q. That's not how you read that?

19 A. No.

20 Q. Mark as Exhibit 20 a one-page document bates

21 labeled CNI 23.

22 (Defendant's Exhibit 20 was marked for
23 Identification. )
24
25} ///
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BARKLEY

AHMAD AKLAYALI [court ngpartere.

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eee

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Q. And did she transfer this patent over to
Collagen?

A. Yes.

Q. When did she do that?

A. I don't really recall. I would have to look

the assignment documents. I don't know when.

at

Q. Other than that patent does your wife own any

other patent?
A. Does she own any other patent?
Yes.
I don't think so.
Do you personally own any trademarks?
No.

And same question for your wife.

» Oo PO Pb ©

I don't think so.

MR. BECKER: Just a clarification when you

refer to trademarks are you referring to registered
or --

MR. KEARNEY: I'm referring to anything

that

you consider to be trademark whether they be registered

or not.

THE WITNESS: She developed the ArthoPet

trademark. It's not registered trademark but she
developed that and she actually developed the

Reversitall trademark also.

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AHMAD AKLAYALI

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Court Reporters

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EXHIBIT B
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.611 Page 23 of 61

Kaylene Canaan

From: Kaylene Canaan

Sent: Wednesday, May 12, 2010 9:49 AM

To: 'matt@beckerlawfirm.com'

Ce: Mark Kearney; John S. Clifford; Annette Ragone

Subject: Collagen v Neocell: Proposed Dates for Depositions

OutlookEntryID: O0000000ACA67BDF51AAE4418B739415AB8421BB070080999314A09EEB45B0FA036014
B5114A0018BB8B002700008099931 4A09EEB45BOFA036014B51 14A002F5884BB9D0000

TimeMatters!ID: M56759D95A80C438

TM Contact: Quadri, Al

TM Matter No: HA35036

TM Matter Reference: Collagen Nutraceuticals v. Neocell

Mr. Becker:

As a follow up to your conversation with Mark Kearney this morning, we’d like to provide some available dates from our
offices for scheduling the depositions we are proposing.

Currently, we’d like to proceed with the following dates and parties in this order:

Terri Alkayali - May 21 (Smith, Chapman & Campbell)
Jorge Hodgers — May 25 (Smith, Chapman & Campbell)
Terry L. Miller —June 1 (Smith, Chapman & Campbell)
Sarah Alkayali — June 4 (Barkley’s Denver, CO)

Rachel Alkayali ~ June 4 (Barkley’s Denver, CO)

Asia Alkayali — June 11 (Barkley’s New York, NY)

Other dates our office has available is May 19, June 3, June 8, June 10, June 16, June 23, June 29.

Please let us know what works for your offices and how we can coordinate these depos for convenience for all.
Thank you for your attention in this regard.

~Kaylene

Kaylene B. Canaan

Paralegal to Douglas M. Campbell, Esq. and Mark T. Kearney, Esq.

SMITH, CHAPMAN & CAMPBELL, APLC

1800 North Broadway, Suite 200, Santa Ana, CA 92706
Tel: (714) 550-7720 x 5032 / Fax: (714) 550-1251 email: kcanaan@smithchapman.com

The information contained in this communication may be confidential, may be attorney-client privileged, may constitute inside information and is intended only for the use of the
addressee. Unauthorized use, disclosure or copying is strictly prohibited and may be unlawful. if you have received this communication in error, please notify us immediately at
the number listed above. Thank you.

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.612 Page 24 of 61

Kaylene Canaan

From: Kaylene Canaan

Sent: Wednesday, May 19, 2010 12:47 PM

To: ‘matt@beckerlawfirm.com'

Subject: FW: Collagen v Neocell: Proposed Dates for Depositions

OutlookEntrylD: 00000000ACA67BDF51AAE4418B739415AB8421BB070080999314A09EEB45B0FA036014
B5114A0018BB8B002700008099931 4A09EEB45B0FA036014B51 14A002F5884BBC 70000

TimeMattersID: MEO00SD9BBACF934

TM Contact: Quadri, Al

TM Matter No: HA35036

TM Matter Reference: Coilagen Nutraceuticals v. Neocell

Mr. Becker:

Please get back with us regarding availability for depositions as listed below. We need to get these
subpoenas out for service and would appreciate a response back so we can mutually lock in some dates.

We also want to know if you will be accepting service on behalf of all of the Alkayali’s?
~Kaylene Canaan

From: Kaylene Canaan

Sent: Wednesday, May 12, 2010 9:49 AM

To: 'matt@beckerlawfirm.com’

Cc: Mark Kearney; John S. Clifford; Annette Ragone
Subject: Collagen v Neocell: Proposed Dates for Depositions

Mr. Becker:

As a follow up to your conversation with Mark Kearney this morning, we’d like to provide some available dates from our
offices for scheduling the depositions we are proposing.

Currently, we’d like to proceed with the following dates and parties in this order:

Terri Alkayali — May 21 (Smith, Chapman & Campbell)

Jorge Hodgers — May 25 (Smith, Chapman & Campbell)

Terry L. Miller —June 1 (Smith, Chapman & Campbell)

Sarah Alkayali—June 4 (Barkley’s Denver, CO)

Rachel Alkayali —June 4 (Barkley’s Denver, CO)

Asia Alkayali— June 11 (Barkley’s New York, NY)

Other dates our office has available is May 19, June 3, June 8, June 10, June 16, June 23, June 29.
Please let us know what works for your offices and how we can coordinate these depos for convenience for all.
Thank you for your attention in this regard.

~Kaylene

Kaylene B. Canaan

Paralegal to Douglas M. Campbell, Esq. and Mark T. Kearney, Esq.
1
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.613 Page 25 of 61

Kaylene Canaan

From: Matthew A. Becker, Esq. [matt@beckerlawfirm.com]

Sent: Wednesday, May 19, 2010 3:42 PM

To: Kaylene Canaan

Subject: RE: Collagen v Neocell: Proposed Dates for Depositions

OutlookEntryiD: 00000000ACA67BDF51AAE4418B739415AB8421BB07007B8B27AAF01C374BBE0E9A9045
2F4EFD0018BBF9083E00007B8B27AAF01C374BBE0E9A90452F 4EFD00342B7DE0210000

TimeMattersID: M064C9D9B0F02234

TM Contact: Becker, Matthew A.

TM Matter No: HA35036

TM Matter Reference: Collagen Nutraceuticals v. Neocell

Thanks for the email. | will get back to you with some dates and the other info.

Matthew A. Becker, Esq.
phn (619) 522-6760
email: matt@beckerlawfirm.com

From: Kaylene Canaan [mailto:kcanaan@smithchapman.com]
Sent: Wednesday, May 19, 2010 12:47 PM

To: matt@beckerlawfirm.com

Subject: FW: Collagen v Neocell: Proposed Dates for Depositions

Mr. Becker:
Please get back with us regarding availability for depositions as listed below. We need to get these
subpoenas out for service and would appreciate a response back so we can mutually lock in some dates.

We also want to know if you will be accepting service on behalf of all of the Alkayali’s?
~Kaylene Canaan

From: Kaylene Canaan

Sent: Wednesday, May 12, 2010 9:49 AM

To: 'matt@beckerlawfirm.com'

Cc: Mark Kearney; John S. Clifford; Annette Ragone
Subject: Collagen v Neocell: Proposed Dates for Depositions

Mr. Becker:

As a follow up to your conversation with Mark Kearney this morning, we'd like to provide some available dates from our
offices for scheduling the depositions we are proposing.

Currently, we’d like to proceed with the following dates and parties in this order:

Terri Alkayali —- May 21 (Smith, Chapman & Campbell)
Jorge Hodgers — May 25 (Smith, Chapman & Campbell)
Terry L. Miller —June 1 (Smith, Chapman & Campbell)
Sarah Alkayali—June 4 (Barkley’s Denver, CO)

Rachel Alkayali —June 4 (Barkley’s Denver, CO)

Asia Alkayali— June 11 (Barkley’s New York, NY)
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.614 Page 26 of 61

Other dates our office has available is May 19, June 3, June 8, June 10, June 16, June 23, June 29.

Please let us know what works for your offices and how we can coordinate these depos for convenience for all.
Thank you for your attention in this regard.

~Kaylene

Kaylene B. Canaan

Paralegal to Douglas M. Campbell, Esq. and Mark T. Kearney, Esq.

SMITH, CHAPMAN & CAMPBELL, APLC

1800 North Broadway, Suite 200, Santa Ana, CA 92706

Tel: (714) 550-7720 x 5032 / Fax: (714) 550-1251 email: kcanaan@smithchapman.com

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addressee. Unauthorized use, disclosure or copying is strictly prohibited and may be unlawful. if you have received this communication in error, please notify us immediately at
the number listed above. Thank you.

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.615 Page 27 of 61

Kaylene Canaan

From: Kaylene Canaan

Sent: Monday, May 24, 2010 3:50 PM

To: ‘matt@beckerlawfirm.com’

Ce: Mark Kearney

Subject: RE: Collagen v Neocell: Proposed Dates for Depositions

OutlookEntrylD: O0000000ACA67BDF51AAE4418B739415AB8421BB0700809993 14A09EEB45B0FA036014
B5114A0018BB8B002700008099931 4A09EEB45B0FA036014B51 14A002F5884BBE40000

TimeMattersiD: M9FA39D9D466B147

TM Contact: Quadri, Al

TM Matter No: HA35036

TM Matter Reference: Collagen Nutraceuticals v. Neocell

Mr. Becker:

Do you have a minute to look at some availability for depos? Two proposed dates have already passed and we still have
not heard from you.

Thank you for your attention to this matter.
~Kaylene
Kaylene B. Canaan

Paralegal to Douglas M. Campbell, Esq. and Mark T. Kearney, Esq.

SMITH, CHAPMAN & CAMPBELL, APLC

1800 North Broadway, Suite 200, Santa Ana, CA 92706

Tel: (714) 550-7720 x 5032 / Fax: (714) 550-1251 email: kcanaan@smithchapman.com

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addressee. Unauthorized use, disclosure or copying is strictly prohibited and may be unlawful. lf you have received this communication in error, please notify us immediately at
the number listed above. Thank you.

From: Matthew A. Becker, Esq. [mailto:matt@beckerlawfirm.com]
Sent: Wednesday, May 19, 2010 3:42 PM

To: Kaylene Canaan

Subject: RE: Collagen v Neocell: Proposed Dates for Depositions

Thanks for the email. | will get back to you with some dates and the other info.

Matthew A. Becker, Esq.
phn (619) 522-6760 _
email: matt@beckerlawfirm.com

From: Kaylene Canaan [mailto:kcanaan@smithchapman.com]
Sent: Wednesday, May 19, 2010 12:47 PM

To: matt@beckerlawfirm.com

Subject: FW: Collagen v Neocell: Proposed Dates for Depositions

Mr. Becker:
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.616 Page 28 of 61

Please get back with us regarding availability for depositions as listed below. We need to get these
subpoenas out for service and would appreciate a response back so we can mutually lock in some dates.

We also want to know if you will be accepting service on behalf of all of the Alkayali’s?
~Kaylene Canaan

From: Kaylene Canaan

Sent: Wednesday, May 12, 2010 9:49 AM

To: 'matt@beckerlawfirm.com'

Cc: Mark Kearney; John S. Clifford; Annette Ragone
Subject: Collagen v Neocell: Proposed Dates for Depositions

Mr. Becker:

As a follow up to your conversation with Mark Kearney this morning, we'd like to provide some available dates from our
offices for scheduling the depositions we are proposing.

Currently, we’d like to proceed with the following dates and parties in this order:

Terri Alkayali — May 21 (Smith, Chapman & Campbell)
Jorge Hodgers ~ May 25 (Smith, Chapman & Campbell)
Terry L. Miller —June 1 (Smith, Chapman & Campbell)
Sarah Alkayali— June 4 (Barkley’s Denver, CO)

Rachel Alkayali —June 4 (Barkley’s Denver, CO)

Asia Alkayali — June 11 (Barkley’s New York, NY)

Other dates our office has available is May 19, June 3, June 8, June 10, June 16, June 23, June 29.

Please let us know what works for your offices and how we can coordinate these depos for convenience for all.
Thank you for your attention in this regard.

~Kaylene

Kaylene B. Canaan

Paralegal to Douglas M. Campbell, Esq. and Mark T. Kearney, Esq.

SMITH, CHAPMAN & CAMPBELL, APLC

1800 North Broadway, Suite 200, Santa Ana, CA 92706
Tel: (714) 550-7720 x 5032 / Fax: (714) 550-1251 email: kcanaan@smithchapman.com

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the number listed above. Thank you.

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.617 Page 29 of 61

Kaylene Canaan

From: Kaylene Canaan

Sent: Thursday, June 10, 2010 12:32 PM

To: ‘matt@beckerlawfirm.com'

Ce: Mark Kearney

Subject: Collagen v Neocell: Deposition Dates

Attachments: Ntc of Depo - Jorge Hodgers - Amended.pdf; Subpoena - Jorge Hodgers - Amended. pdf

OutlookEntryID: OQNDD0000ACA67BDF51AAE4418B739415AB8421BB07008099931 4A09EEB45B0FA036014
B5114A0018BB8B0027000080999314A09EEB45B0FA036014B5114A002F5884F6460000

TimeMattersID: MFBB29DB29C0A401

TM Contact: Quadri, Al

TM Matter No: HA35036

TM Matter Reference: Collagen Nutraceuticals v. Neocell

Mr. Becker,

These are the dates we have scheduled for depositions.

June 18 — records only ~ US Bank (service has been completed)

June 23 ~ Hodgers (proposed date)(service has not been completed yet)
June 29 — Terry Miller (proposed date)(service has not been completed yet)
July 6 — Terri Aikayali (proposed date)(service has not been completed yet)

| am attaching amended Subpoena and Notice of Deposition for Jorge Hodgers. Thank you for catching my mistake.
Since my WordPerfect file showed the correct date | can only assume that | threw out the correct notice and kept the
erroneous notice instead and served that one on you. | apologize for the confusion it has caused.

~Kaylene
Kaylene B. Canaan

Paralegal to Douglas M. Campbell, Esq. and Mark T. Kearney, Esq.

SMITH, CHAPMAN & CAMPBELL, APLC

1800 North Broadway, Suite 200, Santa Ana, CA 92706

Tel: (714) 550-7720 x 5032 / Fax: (714) 550-1251 email: kcanaan@smithchapman.com

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the number listed above. Thank you.

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.618 Page 30 of 61

EXHIBIT C
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.619 Page 31 of 61

Mark Kearney

From: Mark Kearney

Sent: Tuesday, May 25, 2010 10:50 AM
To: ‘matt@beckerlawfirm.com'

Ce: Kaylene Canaan

Subject: Collagen v. NeoCell

Matt,

We have been trying to work with you on scheduling the depositions of Terri Alkayali, the Alkayali’s daughters,
Jorge Hodgers, and Terri Miller for weeks now. | talked to you weeks ago and asked for your availability. My paralegal
has called your office and sent you emails since that time to try to get dates, but you still have not provided your
availability. Three dates that our office had available have come and gone since | first spoke with you.

We need to know the following by the end of the day Thursday, May 27, 2010: (1) whether you are authorized
to accept service of the subpoenas for the daughters and your preferred location for the depositions, and (2) available
dates for the depositions (with alternative dates). If we have not heard from you by that time, we will have no choice
but to select dates and send out the notices/subpoenas on Friday. Obviously, we would rather arrange for your office to
accept service of the subpoenas and to schedule the depositions on dates that are acceptable to you, but we will have
no choice but to move forward if we do not hear back from you. If we do not hear back from you and we are forced to
select dates and send out the paperwork, we can not later reschedule the depositions to accommodate your schedule.

Thanks,

Mark T. Kearney
Smilin, Chapman & Campbell

: rvlieged ard is int
you have received this cowunurication

Mf orror, please 1

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.620 Page 32 of 61

EXHIBIT D
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.621 Page 33 of 61

Mark Kearney

From: Matthew A. Becker, Esq. [matt@beckerlawfirm.com]
Sent: Tuesday, May 25, 2010 10:54 AM

To: Mark Kearney

Ce: Kaylene Canaan

Subject: RE: Collagen v. NeoCell

Mark:

As you are aware, you are requesting depositions for numerous nonparties located over three states. | am working on
getting dates that will accommodate the various schedules involved and should have these shortly.

Thank you for your patience.
Matthew A. Becker, Esq.

phn (619) 522-67€0
email: matt¢beckerlawfirm.com

From: Mark Kearney [mailto:mkearney@smithchapman.com]
Sent: Tuesday, May 25, 2010 10:50 AM

To: matt@beckerlawfirm.com

Cc: Kaylene Canaan

Subject: Collagen v. NeoCell

Matt,

We have been trying to work with you on scheduling the depositions of Terri Alkayali, the Alkayali’s daughters,
Jorge Hodgers, and Terri Miller for weeks now. | talked to you weeks ago and asked for your availability. My paralegal
has called your office and sent you emails since that time to try to get dates, but you still have not provided your
availability. Three dates that our office had available have come and gone since | first spoke with you.

We need to know the following by the end of the day Thursday, May 27, 2010: (1) whether you are authorized
to accept service of the subpoenas for the daughters and your preferred location for the depositions, and (2) available
dates for the depositions (with alternative dates). !f we have not heard from you by that time, we will have no choice
but to select dates and send out the notices/subpoenas on Friday. Obviously, we would rather arrange for your office to
accept service of the subpoenas and to schedule the depositions on dates that are acceptable to you, but we will have
no choice but to move forward if we do not hear back from you. !f we do not hear back from you and we are forced to
select dates and send out the paperwork, we can not later reschedule the depositions to accommodate your schedule.

Thanks,

Mark T. Kearney
Srath, Chapman & Campbell’
f ned Law C

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.622 Page 34 of 61

EXHIBIT E
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.623 Page 35 of 61

Mark Kearney

From: Mark Kearney

Sent: Friday, June 25, 2010 11:06 AM
To: ‘matt@beckerlawfirm.com'
Subject: CN v. NeoCell

Matt,

| still have not heard back from you with respect to whether you will agree to accept service of a subpoena for
Terri Alkayali. What is going on? Please let me know.

Mark T. Kearney
ith, Chapman & Campbell

ssional Law Corp

North Broadway, Sute

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The information cor
disclosu

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.624 Page 36 of 61

EXHIBIT F
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.625 Page 37 of 61

Mark Kearney

From: Matthew A. Becker, Esq. [matt@beckerlawfirm.com]
Sent: Monday, June 28, 2010 4:03 PM

To: Mark Kearney

Ce: khawkes@beckerlawfirm.com

Subject: RE: CN v. NeoCell

Mark:

i am not authorized to accept service.

Please also update me on the time and location of the Terry Miller deposition. Originally, you scheduled it for tomorrow
but when we last spoke you had not served Mr. Miller.

Additionally, we would like to take the depositions of each of the individual defendants (most likely half days) as well as
the PMK for NeoCell. Please advise if there is a week that is best for your schedule and your clients.

Best regards,
Matthew A. Becker, Esq.

phn (619) 522-6760
email: matt@beckerlawfirm.com

From: Mark Kearney [mailto:mkearney@smithchapman.com]
Sent: Friday, June 25, 2010 11:06 AM

To: matt@beckerlawfirm.com

Subject: CN v. NeoCell

Matt,

| still have not heard back from you with respect to whether you will agree to accept service of a subpoena for
Terri Alkayali. What is going on? Please let me know.

Mark T. Kearney
Smith, Chapman & Campbeil

as

‘oy attorney-client
you have reel
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.626 Page 38 of 61

EXHIBIT G
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.627 Page 39 of 61

Kaylene Canaan

From: DDS Customer Service [processstatus@ddslegal.com]
Sent: Thursday, June 17, 2010 4:08 PM

To: Kaylene Canaan

Subject: Status Update 1953145

Status for order 1953145
Recipient:

Order placed by: Kaylene Client Name: Smith, Chapman & Campbell

COLLAGEN v. NEOCELL
Case #: 309CV@2188DMSWVG

Mark T. Kearney, Esq.
1800 N Broadway Ste 200
Santa Ana

Destination

Terri Alkayali
15045 Adams Dr
Pauma Valley CA 92061

Notes/Status

@6/12/18 @1:5@ PM NO ANSWER AT THE DOOR,
THIS IS A SINGLE FAMILY RESIDENCE.
Q6/15/18 8:55 AM NO ANSWER AT RESIDENCE

Documents

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION NOTICE OF TAKING DEPOSITION OF TERRI
ALKAYALI AND REQUEST FOR PRODUCTION OF DOCUMENTS

Court UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF CALIFORNIA
Hearing Date:07/06/10 Time:10:0@ AM Dept/Div:

Date Mailed:

Reference: HA35036

*Automated Message*

Thank you for using DDS!

www.dddslegal.com

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.628 Page 40 of 61

This message has been scanned for viruses and dangerous content by MailScanner, and is
believed to be clean.
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.629 Page 41 of 61

Kaylene Canaan

From: Kaylene Canaan

Sent: Thursday, July 08, 2010 12:04 PM

To: Mark Kearney

Subject: Collagen v Neocell: Service on Terri Alkayali FW: Status Update 1953145.02

OutlookEntryID: OO0000000ACA67BDF51AAE4418B739415AB8421BB0700809993 14A09EEB45B0FA036014
B51 14A002F588400690000809993 14A09EEB45B0FA036014B5114A0030364C05A90000

TimeMattersID: M59539DDD9972814

TM Contact: Quadri, Akram "Al"

TM Matter No: HA35036

TM Matter Reference: Collagen Nutraceuticals v. Neocell

ween Original Message-----

From: DDS Customer Service [mailto:processstatus@ddslegal.com]
Sent: Thursday, July @8, 2010 11:57 AM

To: Kaylene Canaan

Subject: Status Update 1953145.02

Status for order 1953145.@2
Recipient:

Order placed by: Kaylene Client Name: Smith, Chapman & Campbell

COLLAGEN v. NEOCELL
Case #: 309CV02188DMSWVG

Mark T. Kearney, Esq.
1860 N Broadway Ste 200
Santa Ana

Destination

Terri Alkayali

15045 Adams Dr

Pauma Valley CA 92061

Notes/Status

Q@7/01/18 07:45 PM LOCATION IS A

RESIDENCE. NO ANSWER AT DOOR

07/03/18  04:0@ PM LOCATION IS A

RESIDENCE. NO ANSWER AT DOOR

07/07/10  @4:0@ PM STARTED STAKEOQUT. NO

CARS IN OR OUT THE ENTIRE TIME. THERE WAS A WHITE SUV AND A SILVER TRUCK IN THE DRIVEWAY.
SERVER COULD NOT SEE ANY LIGHTS ON AND THERE WAS NO ACTIVITY. SERVER LEFT AT 11PM

07/08/18 06:45 AM PERSONALLY SERVED

CAUCASIAN FEMALE 5@YRS 5'7" 12@LBS. BLOND HAIR BROWN EYES SERVER ARRIVED AT LOCATION AT 4AM

Documents
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.630 Page 42 of 61

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION NOTICE OF TAKING DEPOSITION OF TERRI
ALKAYALI AND REQUEST FOR PRODUCTION OF DOCUMENTS

Court UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF CALTFORNTA
Hearing Date:@7/29/10 Time:10:00 AM Dept/Div:

Date Mailed:

Reference: HA35036

*Automated Message*

Thank you for using DDS!

www.dddslegal.com

This message has been scanned for viruses and dangerous content by MailScanner, and is
believed to be clean.
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.631 Page 43 of 61

EXHIBIT H
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.632 Page 44 of 61

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address) TELEPHONE NO. FOR COURT USE ONLY
Mark T. Kearney, .Esq. (714) 550-7720
1800 N Broadway Ste 200
Santa Ana CA , 92706
ATTORNEY FOR (Name Defendant

insert of Court Name of Judicial District and Branch Court if any

UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF CALIFORNIA

SHORT TITLE OF CASE

COLLAGEN v. NEOCELL

Case Number:

1953145.02 (HEARING) Date Time Dept 309CV02188DMSWVG
. REFERENCE NO.
07/29/10 10:00 AM HA35036
DECLARATION OF SERVICE

i, THE UNDERSIGNED, DECLARE UNDER PENALTY OF PERJURY THAT | WAS ON THE DATE
HEREIN REFERRED TO OVER THE AGE OF 21 YEARS AND NOT A PARTY TO THE WITHIN
ENTITLED ACTION, | SERVED THE:

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
NOTICE OF TAKING DEPOSITION OF TERRI ALKAYALI AND REQUEST FOR
PRODUCTION OF DOCUMENTS

ON: Terri Alkayali

IN THE ABOVE MENTIONED ACTION BY DELIVERING TO AND LEAVING WITH THE ABOVE NAMED
PERSON A COPY THEREOF, AT:

15045 Adams Dr
Pauma Valley CA 92061
ON 7/8/2010 AT 6:45:00 AM

WITNESS FEES: 175.76

| DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FOREGOING INFORMATION CONTAINED IN THE RETURN OF SERVICE
AND STATEMENT OF SERVICE FEES IS TRUE AND CORRECT.

d. The fee for service was $485.00

7a. Person Serving: Jonas Williams e. lam:

(1) not a registered California process server:
b. DDS Legal Support (3) X registered California process server.
2900 Bristol St i
Costa Mesa, Ca 92626 . Independent Contractor

istration No: 4005
c. (714) 662-5555 ‘ ou 7. SAN DIEGO
8. | declare under the penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.
__—

7/12/2010 Jonas Williams

f

PROOF OF SERVICE | |
SJ
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.633 Page 45 of 61

AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
SOUTHERN DISTRICT, SAN _ District of California

COLLAGEN NUTRACEUTICALS, INC. A California
Corporation

Plaintiff
Vv.
NEOCELL CORPORATION, FATMA BOUKHARI,
AKRAM QUADRL SARAH QUADRI, DARREN
Defendant

Civil Action No. 3:09-CV-02188-DMS-WVG

(If the action is pending in another district, state where:

)

New Nee Noe See” See Ne”

AMENDED SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Terri Alkayali, 15045 Adams Dr., Pauma Valley, CA 92061

[x_] Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
about the following matters, or those set forth in an attachment:

Place: 1800 N. Broadway, Suite 200 Date and Time:

Santa ana, CA 92706 Thursday, July 29, 2010 at 10:00 a.m.

The deposition will be recorded by this method: Stenographically, audibly and/or audiovisually

x_| Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Request for Production of Documents, Attachment A

The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date: 7/12/2010

CLERK OF COURT
OR

Signature of Clerk or Deputy Clerk Attorney's signature /
Mark 7. Kearney

The name, address, e-mail, and telephone number of the attorney representing (name of party) Defendants

, who issues or requests this subpoena, are:
Mark T. Kearney, Esq., of Smith, Chapman & Campbell located at 1800 N. Broadway, Suite 200, Santa Ana, CA 92706,
Tel. 714.550.7720; Fax. 714.550.1251

AQ-88A
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.634 Page 46 of 61

1 REQUEST FOR FR UCT ON ONTENTS: ATTACHMENT A

2

° 1. “COLLAGEN?” shall mean Plaintit/ Counterclaim Defendant, Collagen

* Nutraceuticals, Inc.

° 2. “ALKAYALI” shall mean Counterclaim Defendant, Ahmad Alkayali.

° 3. “NEOCELL” shall mean Defendant/Counterclaimant NeoCell Corporation.

’ 4, “YOU,” “YOUR,” and “YOURS” shall mean Terri Alkayali,the party

° responding to these requests as well as any agents, servants, employees, or

° other persons acting on her behalf.
° 5. The term "DOCUMENTS" is as that term is defined in Federal Rules of Civil
0 Procedure Rule 34, and which includes, but is not limited to, any designated
"2 documents or electronically stored information--including writings, drawings,
° graphs, charts, photographs, sound recordings, images, and other data or data
"4 compilations--stored in any medium from which information can be obtained
° either directly or, if necessary, after translation by the responding party into a
° reasonably usable form.
" 6. The term “COMMUNICATIONS” shall mean and include any meeting,
8 conference, face-to-face conversation, telephone conversation, or conference
? or communication used by any media, including computer e-mail, or any
° other computerized electronic communications, as well as any written, typed,
7 taped, or recorded communication of any kind whatsoever.
* DOCUMENTS REQUESTED
8 1. The Corporate book of COLLAGEN.
* 2. All notices of meetings, waivers of notice, and meeting minutes for
8 shareholder meetings of COLLAGEN.
° 3. All notices of meetings, waivers of notice, and meeting minutes for
. director meetings of COLLAGEN.

sa, can Request for Production of Documents, Attachment A> Terri Alkayali

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.635 Page 47 of 61

4 The Articles of Incorporation of COLLAGEN.
2 5. The Bylaws of COLLAGEN.
3 6. The Stock Ledger of COLLAGEN.
4 7 All shareholder agreements between shareholders of COLLAGEN.
5 8 All agreements relating to shares and/or ownership of COLLAGEN.
6 9 All agreements between YOU and NEOCELL.
7H 10. All agreements between YOU and COLLAGEN.
8 11. All agreements between COLLAGEN and NEOCELL.
9 12. All trademark and patent applications filed by COLLAGEN.

10 13. All agreements relating to the marks that are subject of this lawsuit.

11 14. All agreements relating to the patent identified in the Complaint in this
12 matter.

13 15. All documents and/or things relating to all trademarks pertaining to this
14 matter.

15 16. All documents and/or things relating to all patents pertaining to this
16 matter.

17 17. All documents that support the claim that the trademarks pertaining to this
18 matter are the property of and/or owned by COLLAGEN.

19 18. All documents that support the claim that the patent identified in the
20 Complaint in this matter is the property of and/or owned by COLLAGEN.
21 19, All trademark and patent applications filed by COLLAGEN.

22 20. All trademark and patent applications filed by ALKAYALI.

23 21. All trademark and patent applications filed by YOU.

24 22, Allinvoices and purchase orders for all products sold by COLLAGEN for
25 the period of June 23, 2009 to the present date.

26 23, All invoices and purchase orders for all products sold by COLLAGEN
27 that referenced and/or referred to the trademarks pertaining to this matter.
28

2
SMITH, CHAPMAN Request for Production of Documents, Attachment A - Terri Alkayali

& CAMPBELL

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1 24. All communications that relate to and/or refer to the trademarks
2 pertaining to this matter.
3 25. All documents that support the claims of COLLAGEN in this matter.
4 26. All documents that support Counterclaim Defendants’ defenses to the
5 Counterclaim in this matter.
6 27. All documents that reflect payments made by YOU to COLLAGEN.
7 28. All documents that reflect payments made by COLLAGEN to YOU.
8. 29. All documents that reflect payments made by YOU to Five Continent
9 Enterprises.
10 30. All documents that reflect payments made by Five Continent Enterprises
11 to YOU.
12 31. All documents that reflect payments made by YOU that directly or
13 indirectly through someone else or another entity was to go to
14 COLLAGEN.
15 32. All documents that reflect payments made to YOU that directly or
16 indirectly through someone else or another entity came from
17 COLLAGEN.
18 33. All bank records, including bank statements, check registers, and bank
19 receipts, that reflect payments made by YOU to COLLAGEN.
20 34, All bank records, including bank statements, check registers, and bank
21 receipts, that reflect payments made by COLLAGEN to YOU.
22 35. All bank records, including bank statements, check registers, and bank
23 receipts, that reflect payments made by YOU to Five Continent
24 Enterprises.
25 36. All bank records, including bank statements, check registers, and bank
26 receipts, that reflect payments made by Five Continent Enterprises to
27 YOU.
28
3
su cpa Request for Production of Documents, Attachment A - Teri Alkayali
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.637 Page 49 of 61

37. All bank records, including bank statements, check registers, and bank

—

receipts, that reflect payments made by YOU that directly or indirectly
through someone else or another entity was to go to COLLAGEN.

38. All bank records, including bank statements, check registers, and bank
receipts, that reflect payments made to YOU that directly or indirectly
through someone else or another entity came from COLLAGEN.

oO SS NA DN A BP W NY

BO bP NHN DN KR KO DYNO RO DR wm Om mlm meee
oo NA Dn A FP Ww LY S&§ SF OO Be HTD DH NH BR Ww PB — OC

A
SMITH, CHAPMAN Request for Production of Documents, Attachment A - Terri Alkayali

& CAMPBELL

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.638 Page 50 of 61

TELEPHONE NO. FOR COURT USE ONLY

(714) 550-7720

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)
Mark T. Kearney, Esq.

1800 N Broadway Ste 200
Santa Ana CA 92706
Defendant

_TORNEY FOR (Name
insert of Court Name of Judicial District and @ranch Court if any

UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT OF CALIFORNIA

SHORT TITLE OF CASE

COLLAGEN v. NEOCELL

Case Number:
1953145.02 (HEARING) Date Time Dept 309CV02188BDMSWVG
. (REFERENCE NO.
07/29/10 10:00 AM HA35036

DECLARATION OF SERVICE

|, THE UNDERSIGNED, DECLARE UNDER PENALTY OF PERJURY THAT I WAS ON THE DATE
HEREIN REFERRED TO OVER THE AGE OF 21 YEARS AND NOT A PARTY TO THE WITHIN

ENTITLED ACTION, | SERVED THE:

SUBPOENA TO TESTIFY AT A DEPOSITION IN ACIVIL ACTION
NOTICE OF TAKING DEPOSITION OF TERRI ALKAYALI AND REQUEST FOR

PRODUCTION OF DOCUMENTS

ON: Terri Alkayali

IN THE ABOVE MENTIONED ACTION BY DELIVERING TO AND LEAVING WITH THE ABOVE NAMED
PERSON A COPY THEREOF, AT:

15045 Adams Dr
Pauma Valley CA 92061
ON 7/812010 AT 6:45:00 AM

WITNESS FEES: 175.76

| DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FOREGOING INFORMATION CONTAINED IN THE RETURN OF SERVICE
AND STATEMENT OF SERVICE FEES IS TRUE AND CORRECT.

d. The fee for service was $485.00
7a. Person Serving: Jonas Williams e. lam:
(1) not a registered California process server:
b. DDS Legal Support (3) X registered California process server:
a Mesa, Sa 92626 (i) Independent Contractor
@ istration No: 4005

c. (714) 662-5555

clare under the penalty of perjury under the laws of the United States of America
ti. . ate foregoing is true and correct.
Xx

Se } SIGNATURE

7/12/2010 Jonas Williams
PROOF OF SERVICE /
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.639 Page 51 of 61

AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)

(c) Protecting a Person Subject to a Subpoena.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a
person subject to the subpoena. The issuing court must enforce this
duty and impose an appropriate sanction — which may include lost
earnings and reasonable attorney’s fees — on a patty or attorney
who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or
to permit the inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Objections. A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or all of the materials or
to inspecting the premises — or to producing electronically stored
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14
days after the subpoena is served. If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving
party may move the issuing court for an order compelling production
or inspection.

(if) These acts may be required only as directed in the order, and
the order must protect a person who is neither a party nor a party’s
officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena,

(A) When Required. On'timely motion, the issuing court must
quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person who is neither a party nor a party’s officer
to travel more than 100 miles from where that person resides, is
employed, or regularly transacts business in person — except that,
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to
attend a trial by traveling from any such place within the state where
the trial is held;

(iii) requires disclosure of privileged or other protected matter, if
no exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by
a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information;

(ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from
the expert’s study that was not requested by a party; or

(iii) a person who is neither a party nor a party’s officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:

(i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably

compensated.

(d) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information.
These procedures apply to producing documents or electronically
stored information:

(A) Documents. A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to
the categories in the demand,

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must
produce it in a form or forms in which it is ordinarily maintained or
in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One
Form. The person responding need not produce the same
electronically stored information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden or cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows
good cause, considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim.

(B) Information Produced, Vf information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it,
After being notified, a party must promptly return, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the information if the party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved.

(e) Contempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena. A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits of Rule 45(c)(3)(A (ii).
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.640 Page 52 of 61

CERTIFICATE OF SERVICE

—

2 I declare that I am employed in the City of Santa Ana, County of Orange, State of
California. I am over the age of eighteen years and not a party to the within action; my
3 || business address is: SMITH, C MAN & CAMPBELL, 1800 North Broadway, Suite
200, Santa Ana, California 92706
4
On July 14, 2010, I served the foregoing document(s); AMENDED SUBPOENA
5| TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION - TERRI ALKAYALI
61 [x ] by placing the true copies thereof enclosed in sealed envelopes addressed to:
7|| Matthew A. Becker, Esq.
The Law Office of Matthew A. Becker, PC
8 | 1003 Isabella Avenue
Coronado, CA 92118
9 || 619-522-6760; fax: 619-522-6763
Attomeys for Plaintiff Collagen Nutraceuticals, Inc.
10
[] by placing the original thereof enclosed in sealed envelopes addressed as stated
iil on the attached mailing list:
12] [ ] (BY PERSONAL SERVICE)
caused for personal delivery of envelope by hand.
13
[x] (BY MAIL)
14
I deposited such envelopes in the mail at Santa Ana, California. The
15 | envelopes were mailed with postage thereon fully prepaid. .
Px] Yam “readily familiar" with the firm's practice of collection and processing
16 || correspondence for mailing. It is deposited with the U.S. postal service on that same day
in the ordinary course of business. I am aware that on motion of party served, service
17 is presumed invalid if postal cancellation date or postage meter date is more than one day
: after date of deposit for mailing in affidavit.
1
I declare that I am employed in the office of a member of the bar of this court
19
at whose direction the service was made.
20
Executed on July 14, 2010, at Santa Ana, Califfrnia.
21
22
Kaylene B. Canaan
23 (Print Name)
24
25
26
27

NO
oo

Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.641 Page 53 of 61

EXHIBIT I
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.642 Page 54 of 61

Mark Kearney

From: Mark Kearney

Sent: Tuesday, July 27, 2010 1:57 PM
To: ‘matt@beckerlawfirm.com’

Ce: John 8S. Clifford; Kaylene Canaan
Subject: RE: Depositions

Matt,

We will get you dates for the individual defendants as soon as possible. Sarah Quadri was Just released from an
extended stay at the hospital. We obviously want to make sure that she feels well enough before we move forward with
her deposition.

With respect to the third party depositions that we subpoenaed, we have been assured that both Ms. Alkayali
and Mr. Miller were properly served and we have the executed proofs of service. It is surprising that you are now
getting to us with respect to these depositions, as we previously tried to work with your office to arrange for the
depositions but you refused to accept service of the subpoenas and/or produce the witnesses. We have been trying to
take these depositions for months now. Prior to serving the subpoenas we contacted you multiple times to arrange for
the depositions in an attempt to be cooperative. The result of our efforts to cooperate with your office was to
apparently tip off the third party witnesses so that they couid try to evade service for weeks. Our process server finally
had to conduct a “stake out” to get the subpoenas served. This was to the great expense of our client.

| have no problem talking with you about attorney-client privilege issues that you think may arise at the
deposition. However, we have no plans to delay the deposition further just because you have raised these issues the
day before the scheduled deposition. Call me if you would like to discuss. | don’t really know what there is to talk about
on the issue. It would probably just be easier to address any issues during the deposition as any issues arise. At this
point, it is unclear who Mr. Miller represented, which seems to be something that we would need to know before we
can address privilege issues.

We plan on moving forward with the deposition tomorrow and the deposition on Thursday. Both deponents
evaded service of the subpoenas for weeks after we tried to cooperate with your office to arrange for the depositions. If
the deponents, who were validly served, elect not to show up we will proceed accordingly.

Please feel free to contact me should you wish to further discuss this matter.

Sincerely,

Mark T. Kearney

From: Matthew A. Becker, Esq. [mailto:matt@beckerlawfirm.com]
Sent: Tuesday, July 27, 2010 11:59 AM
To: Mark Kearney
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.643 Page 55 of 61

Ce: khawkes@beckerlawfirm.com
Subject: Depositions

Mark:

| sent you a request for dates to depose the individual defendants weeks back but! have not heard from you. Please
advise as to availability for both you and your clients’ schedules.

In addition, last week | received copies of your subpoenas for third party depositions of Terry L. Miller and Terri Alkayali
for July 28 & 29, respectively. | have spoken with each of these third party witnesses and they indicate they were not
served with the documents. As such, both have indicated they will not be appearing on the dates in your notices.

With respect to Mr. Miller, he indicated that he saw a process server throw papers into the flat bed of a truck parked in
front of his house. He does not believe this to be proper service. In addition, there are issues of attorney client privilege
that should be discussed and worked out prior to any deposition. Please contact me to discuss these issues.

With respect to Ms. Alkayali, she indicates that she was not served at 6:45 am on July 8, 2010 and never received a copy
of the papers allegedly served.

Please call me to discuss the above issues.
Best regards,

Matthew A. Becker, Esq.

The Law Office of Matthew A. Becker, PC
1003 Isabella Avenue

Coronado, CA 92118

phn (619) 522-6760

fax (619) 522-6763

email: matt@beckerlawfirm.com

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EXHIBIT J
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.645 Page 57 of 61

Mark Kearney

From: Matthew A. Becker, Esq. [matt@beckerlawfirm.com]

Sent: Tuesday, July 27, 2010 3:48 PM

To: Mark Kearney

Ce: John S. Clifford; Kaylene Canaan; khawkes@beckerlawfirm.com
Subject: RE: Depositions

Mark:

As indicated, neither party will be appearing for the depositions on the dates you noticed. Going forward will only serve to
neediessly drive up costs. Additionally, Mr. Miller informs me he will be out of town on a previously scheduled vacation.

lt is important to note that your requests that | accept service was on behalf of Mr. Aikayali’s family members. | have only |
recently had contact with Mr. Miller (after your attempted service). Your allegations to the contrary are disappointing. If
you wish to depose Mr. Miller, | suggest you contact him and arrange a mutually agreeable date for all parties. | also
strongly advise the parties to discuss and try and work out an agreement on the privilege issues. To haphazardly attempt
to address these important issues at the deposition will only result further waste of resources for the parties.

With respect to Ms. Alkayali, | understand she was out of town for some time and her residence is not accessible to the
public. There was no attempt to evade service. | did not know of your servers attempts and did not discuss these matters
with Ms. Alkayali. Regardiess, she was not served and indicates that she never received the paperwork you only recently
mailed to me. It is likely that your process server made a mistake or served another party.

Please contact me if you wish to discuss the matter further.
Matthew A. Becker, Esq.

phn (619) 522-6760
email: matt@beckerlawfirm.com

From: Mark Kearney [mailto:mkearney@smithchapman.com]
Sent: Tuesday, July 27, 2010 1:57 PM

To: matt@beckerlawfirm.com

Cc: John S. Clifford; Kaylene Canaan

Subject: RE: Depositions

Matt,

We will get you dates for the individual defendants as soon as possible. Sarah Quadri was just released from an
extended stay at the hospital. We obviously want to make sure that she feels well enough before we move forward with
her deposition.

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and Mr. Miller were properly served and we have the executed proofs of service. It Is surprising that you are now
getting to us with respect to these depositions, as we previously tried to work with your office to arrange for the
depositions but you refused to accept service of the subpoenas and/or produce the witnesses. We have been trying to
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the depositions in an attempt to be cooperative. The result of our efforts to cooperate with your office was to
apparently tip off the third party witnesses so that they could try to evade service for weeks. Our process server finally
had to conduct a “stake out” to get the subpoenas served. This was to the great expense of our client.

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deposition. However, we have no plans to delay the deposition further just because you have raised these issues the

1
Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.646 Page 58 of 61

day before the scheduled deposition. Call me If you would like to discuss. | don’t really know what there is to talk about
on the issue. It would probably just be easier to address any issues during the deposition as any issues arise. At this
point, it is unclear who Mr. Miller represented, which seems to be something that we would need to know before we
can address privilege issues.

We plan on moving forward with the deposition tomorrow and the deposition on Thursday. Both deponents
evaded service of the subpoenas for weeks after we tried to cooperate with your office to arrange for the depositions. If
the deponents, who were validly served, elect not to show up we will proceed accordingly.

Please feel free to contact me should you wish to further discuss this matter.
Sincerely,
Mark T. Kearney
Smuk, Chapman & Campbel

slonal Low

riage

LETY: The information coniaited in this corm fon may be confidentia
Bd USO, Cisciosure, or copying ts strict! vubted and may be unlawful, 1f
lalely by return ena and permanenily deleie fhis oma,

From: Matthew A. Becker, Esq. [mailto:matt@beckerlawfirm.com]
Sent: Tuesday, July 27, 2010 11:59 AM

To: Mark Kearney

Cc: khawkes@beckerlawfirm.com

Subject: Depositions

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With respect to Ms. Alkayali, she indicates that she was not served at 6:45 am on July 8, 2010 and never received a copy
of the papers allegedly served.

Please call me to discuss the above issues.
Best regards,

Matthew A. Becker, Esq.

The Law Office of Matthew A. Becker, PC
1003 Isabella Avenue

Coronado, CA 92118

phn (619) 522-6760

fax (619) 522-6763

email: matt@beckerlawfirm.com
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Case 3:09-cv-02188-DMS-WVG Document 30-2 Filed 08/05/10 PagelD.648 Page 60 of 61

1 CERTIFICATE OF SERVICE

2 I declare that I am employed in the City of Santa Ana, County of Orange, State

of California. I am over the age of eighteen years and not a party to the within action;
3 || my business address is: SMITH, CHAPMAN & CAMPBELL, 1800 North Broadway,
Suite 200, Santa Ana, California 92706

On August 5, 2010, I served the foregoing document(s): DECLARATION OF
5 || MARK T. ARNEY IN SUPPORT OF MOTION FOR A) AN ORDER

COMPELLING TERRI ALKAYALI’S COMPLIANCE WI SUBPOENA,
AND | 2) THE IMPOSITION OF CONTEMPT SANCTIONS ON TERRI

[x ] by placing the true copies thereof enclosed in sealed envelopes addressed to:

Terri Alkayali
15045 Adams Dr.
10 || Pauma Valley, CA 92061

11 || [ ] by placing the original thereof enclosed in sealed envelopes addressed as stated
on the attached mailing list:

[ | (BY PERSONAL SERVICE)
caused for personal delivery of envelope by hand.

14 | [x] (BY MAIL)
I deposited such envelopes in the mail at Santa Ana, California. The

15 || envelopes were mailed with postage thereon fully prepaid.

[x] Iam "readily familiar” with the firm's practice of collection and processing
16 || correspondence for mailing. It is deposited with the U.S. postal service on that same
day in the ordinary course of business. I am aware that on motion of party served,
17 || service is presumed invalid if postal cancellation date or postage meter date is more
than one day after date of deposit for mailing in affidavit.

I declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed on August 5, 2010, at Santa Ana, California.

5

SMITH, CHAPMAN Decl. of Mark Kearney
& CAMPBELL

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1 CERTIFICATE OF SERVICE
2 I declare that I am employed in the City of Santa Ana, County of Orange, State
of California. I am over the age of eighteen years and not a party to the within action;
3 || my business address is: SMITH, CHAPMAN & CAMPBELL, 1800 North Broadway,
Suite 200, Santa Ana, California 92706
4
On August 5, 2010, I served the foregoing document(s): DECLARATION OF
5 | MARK T. ARNEY IN SUPPORT OF MOTION FOR ) AN ORDER
COMPELLING TERRI ALKAYAL?’S COMPLIANCE WITH SUBPOENA,
6 | AND (2) THE IMPOSITION OF CONTEMPT SANCTIONS ON TERRI
ALKAYALI
7
[x] By ELECTRONIC FILE TRANSFER TO ECF FILE & SERVE:
8 y transmitting a true copy of the document(s) listed above for service on
arties in this case pursuant to applicable statutes, local rules and/or
9 order of the Court.
10 | ] BY FACSIMILE and/or EMAIL) I sent such document via
acsimile or machine to each person listed below. The facsimile machine
11 I used complied with Rule 2003, and the transmission was reported as
complete and without error on August 5, 2010.
12

13 || Matthew A. Becker, Esq.

The Law Office of Matthew A. Becker, PC
14 || 1003 Isabella Avenue

Coronado, CA 92118

15 || 619-522-6760; fax: 619-522-6763
matt@beckerlawfirm.com

16 || Attorneys for Plaintiff Collagen
Nutraceuticals, Inc.

17
18 I declare that I am employed in the office of a member of the bar of this court
19 || at whose direction the service was made.

20 Executed on August 5, 2010, at Santa Ana, Califgrnia.

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SMITH, CHAPMAN Decl. of Mark Kearney
& CAMPBELL

